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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Eastern District of New York

                         Kristen Tolas,                            )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                v.                                 )       Civil Action No.   25-cv-3174
                                                                   )
  Spine and Pain Consultant, PLLC d/b/a The Spine
           and Pain Institute of New York,                         )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                       Spine and Pain Consultant, PLLC d/b/a
                                       The Spine and Pain Institute of New York
                                       369 Manor Road
                                       Staten Island, NY 10314




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received i t ) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or ( 3 ) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       Akin & Salaman PLLC
                                       45 Broadway, Suite 1420
                                       New York, NY 10006




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


Date:       6/9/2025
                                                                                        Signature o f Clerk or Deputy Clerk
